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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO. 11-CV-23412-WMH

  EMILIO PINERO,

                 Plaintiff,
  v.

  KOSOY KENDALL ASSOC L.L.C.,

              Defendant.
  ________________________/

                               SECOND AMENDED COMPLAINT

         Plaintiff. EMILIO PINERO, by his undersigned counsel, hereby files this Complaint and

  sues, KOSOY KENDALL ASSOC L.L.C., for injunctive relief pursuant to the Americans with

  Disabilities Act, 42 U.S.C. Section 1281, et seq., (hereinafter the “A.D.A”), the ADA’s

  Accessibility Guidelines, 28 C.F.R. Part 36 (hereinafter the “ADAAG”), and the Florida

  Building Code.

                                           JURISDICTION

         1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C., §§1331

   and 1343 for Plaintiff’s claims arising under 42 U.S.C. § 1281. et seq., based upon Defendant’s

   violations of Title III of the ADA (see also, 28 U.S.C. §§ 2201 and 2202).

                                               PARTIES

         2.      Plaintiff is a resident of the State of Florida, and is disabled as defined by the

   ADA and substantially limited in performing one or more major life activities, including but not

   limited to walking standing, and standing. Plaintiff is a left leg amputee from the knee down

   which requires his use of a wheelchair for mobility purposes. Plaintiff’s access to the facility

   and/or full and equal enjoyment of the goods, services, facilities, privileges, advantages, and/or
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   accommodations offered therein was denied and/or limited because of these disabilities, and

   will be denied and/or limited in the future unless and until Defendant is compelled to remove

   the physical barriers to access and ADA violations which exist at the facility, including but not

   limited, to those set forth in the Complaint.

          3.      Defendant, KOSOY KENDALL ASSOC L.L.C, is the owner, lessee, and/or

  operator of the real property and improvements which are the subject of this action, commonly

  referred to as The Shops of Kendall, a shopping mall located at 12650 N. Kendall Drive, Miami,

  Florida, (hereinafter the “facility”).

          4.      Defenant through its officers and registered agent, is a resident of Florida,

  "concealing its whereabouts to avoid service of process. Thereby, in accordance with the

  privilege extended by law to operate, conduct, engage in, or carry on a business or business

  venture in the state, or to have an office or agency in the state, constitutes an appointment by the

  persons and foreign corporations of the Secretary of State of the state as their agent on whom all

  process in any action or proceeding against them may be effectuated.”

          5.      The Defendant’s facility is a public accommodation and service establishment,

   and although required by law to do so, it is not in compliance with the ADA and ADAAG.

          6.      In this instance, Plaintiff visited the facility and encountered barriers to access at

   the facility, and engaged barriers, suffered legal harm and injury, and will continue to suffer

   legal harm and injury as a result of the illegal barriers to access, and Defendant’s ADA

   violations set forth herein.

          7.      Plaintiff has suffered and continues to suffer direct and indirect injury as a result

   of the ADA violations that exist at the facility and the actions or inactions described herein.
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         8.       All events giving rise to this lawsuit occurred in the State of Florida. Venue is

   proper in this Court as the premises are located in the Southern District.

                              FACTUAL ALLEGATIONS AND CLAIM

         9.       Plaintiff has attempted to and has, to the extent possible, accessed the facility, but

   could not do so because of his disabilities due to the physical barriers to access, dangerous

   conditions and ADA violations that exist at the facility that restrict and/or limit his access to the

   facility and/or the goods, services, facilities, privileges, advantages and/or accommodations

   offered therein, including those barriers, conditions and ADA violations more specifically set

   forth in this Complaint.

         10.      Plaintiff intends to visit the facility again in the near future in order to utilize all of

   the goods, services, facilities, privileges, advantages, and/or accommodations commonly

   offered at the facility, but will be unable to do so because of his disability due to the physical

   barriers to access, dangerous conditions and ADA violations that exist at the facility that restrict

   and/or limit his access to the facility and/or accommodations offered therein, including those

   barriers conditions and ADA violations more specifically set forth in this Complaint.

         11.      Defendant has discriminated against Plaintiff and others with disabilities by

   denying access to, and full and equal enjoyment of the goods, services, facilities, privileges,

   advantages and/or accommodations of the facility, as prohibited by 42 U.S.C., § 12182, et.seq.,

   and by failing to remove architectural barriers as required by 42 U.S.C., §12182(b)(2)(A)(iv),

   and will continue to discriminate against Plaintiff and others with disabilities unless and until

   Defendant is compelled to remove all physical barriers that exist at the facility, including those

   specifically set forth herein, and make the facility accessible to and usable by persons with

   disabilities, including Plaintiff.
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         12.     Defendant has discriminated against Plaintiff by failing to comply with the above

   requirements. A specific, although not exclusive, list of unlawful physical barriers, dangerous

   conditions and ADA violations which preclude and/or limit Plaintiff’s ability (because of his

   disability) to access the facility and/or full and equal enjoyment of the goods, services,

   facilities, privileges, advantages and/or accommodations of the facility include

         a. There is an insufficient number of disabled parking spaces in violation of ADAAG

  4.1.2(5)(a).

         b. There are non-compliant curb ramps that extend into the access aisle and are too steep

  in violation of ADAAG 4 and 4.8.2.

         c. There is a designated parking space which does not have an access aisle in violation

  of ADAAG 4.6.2.

          d. There are counters within the tenant spaces that exceed the maximum height

  requirements in violation of ADAAG 4.5.

           e. The accessible routes within the tenant spaces are not of compliant width in violation

  of ADAAG 4.6.3.

           f. There are restrooms at the facility that are inaccessible due to, among other things

  the door width of the restroom doors are too narrow, the door hardware is not

  compliant and the mirrors are above the maximum height allowance. The toilet and

  sink are not compliant including sink hardware, toilet seat height, toilet flush lever and

  lack of insulated pipes under sink, non-compliant clear floor space and turning radius

  within the restrooms, non-compliant or a lack of compliant grab bars in the restrooms, in

  violation of ADAAG 4.22 and 4.13.9.
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          13.    The above listing is not to be considered all-inclusive of the barriers, conditions or

  violations encountered by Plaintiff and/or which exist at the facility. Plaintiff requires an

  inspection of the facility in order to determine all of the discriminatory acts violating the ADA.

          14.   Plaintiff has attempted to gain access to the facility, but because of his disability

  has been denied access to, and has been denied the benefits of services, programs, and activities

  of the facility, and has otherwise been discriminated against and damaged by Defendant, because

  of the physical barriers, dangerous conditions and ADA violations set forth above, and expects to

  be discriminated against in the future, unless and until Defendant is compelled to remove the

  unlawful barriers and conditions and comply with the ADA.

          15.   The removal of the physical barriers, dangerous conditions and ADA violations set

  forth herein is readily achievable and can be accomplished and carried out without much

  difficulty or expense. 42 U.S.C. § 12182(B)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R, §

  36.304.

          16.   Plaintiff is without adequate remedy at law and is suffering irreparable harm, and

  reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant

  is required to remove the physical barriers, dangerous conditions and ADA violations that exist

  at the facility, including those set forth herein.

          17.   The Plaintiff has been obligated to retain undersigned counsel for the filing and

  prosecution of this action. The Plaintiff is entitled to have his reasonable attorney’s fees, costs

  and expenses paid by the Defendant, pursuant to 42 U.S.C., §§ 12205 and 12217.

          18.   Pursuant to 42 U.S.C. §12188(a), this Court is provided with authority to grant

  injunctive relief to Plaintiff, including an order to alter the subject facility to make it readily
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  accessible to and useable by individuals with disabilities to the extent required by the ADA, and

  closing the subject facility until the requisite modifications are completed.

          WHEREFORE, Plaintiff respectfully requests that the Court issue a permanent

  injunction enjoining Defendant from continuing is discriminatory practices, ordering Defendant

  to remove the physical barriers to access and alter the subject facility to make it readily

  accessible to and useable by individuals with disabilities to the extent required by the ADA,

  closing the subject facility until the barriers are removed and requisite alterations are completed,

  and awarding Plaintiff his reasonable attorney’s fees, expert fees, costs and litigation expenses

  incurred in this action.


                                                        Respectfully submitted,


                                                         s/ Lauren Wassenberg
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